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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

CHARLES DON FLORES,                   §
             Petitioner,              §
                                      §
v.                                    §
                                      §         CIV. NO. 3:07-CV-413-M
BOBBY LUMPKIN, Director,              §         (Death Penalty Case)
Texas Department of Criminal          §
Justice, Correctional Institutions    §
Division,                             §
                  Respondent.         §

                RESPONDENT’S UNOPPOSED MOTION
                    TO SUBSTITUTE COUNSEL

      This is a federal habeas case. Petitioner Charles Flores is a Texas state

inmate under a sentence of death. Respondent Director Bobby Lumpkin is Mr.

Flores’s custodian. This case has been reassigned to the undersigned assistant

attorney general who will now be representing the Director in this proceeding.

Thus, the Director moves to permit Tomee Heining to withdraw as counsel of

record for the Director and substitute the undersigned in her place. This

substitution request is not designed or intended to harass Mr. Flores or to

delay this proceeding. Any future documents should be sent to the same

address (if physically delivered) or to the undersigned’s email address (if

electronic).
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                              CONCLUSION

      The Director respectfully requests that the Court allow Tomee Heining

to withdraw as counsel and substitute the undersigned as counsel of record for

the Director.

                                    Respectfully submitted,

                                    KEN PAXTON
                                    Attorney General of Texas

                                    BRENT WEBSTER
                                    First Assistant Attorney General

                                    JOSH RENO
                                    Deputy Attorney General
                                    For Criminal Justice

                                    EDWARD L. MARSHALL
                                    Chief, Criminal Appeals Division

                                    s/ Ali M. Nasser
                                    ALI M. NASSER
                                    Assistant Attorney General
                                    Counsel of Record
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                                    Counsel for Respondent




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                    CERTIFICATE OF CONFERENCE

     I certify that, on August 9, 2021, I conferred through electronic mail with
Mr. Flores’s counsel, Gretchen Sween, about this motion and she stated that
she was unopposed to it.

                                     s/ Ali M. Nasser
                                     ALI M. NASSER
                                     Assistant Attorney General


                       CERTIFICATE OF SERVICE

       I do hereby certify that on August 10, 2021, I electronically filed the
foregoing document with the Clerk of the Court for the U.S. District Court,
Northern District of Texas, using the electronic case-filing system of the Court.
The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to
the following counsel of record, who consented in writing to accept the NEF as
service of this document by electronic means:

Gretchen Sims Sween
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                                     s/ Ali M. Nasser
                                     ALI M. NASSER
                                     Assistant Attorney General




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